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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig “Deepwater        §
Horizon” in the Gulf of Mexico on April 20,       §       MDL No. 2179
2010.                                             §       SECTION “J”
                                                  §
                                                  §       JUDGE BARBIER
This Document Relates to:                         §
                                                  §       MAGISTRATE SHUSHAN
10-4239                                           §
10-4240                                           §
10-4241                                           §


                       LOCAL RULE 7.6 (E) CERTIFICATE
       Plaintiffs, the State of Tamaulipas, the State of Veracruz, and the State of

Quintana Roo, Republic of Mexico, by and through their counsel of record, Enrique G.

Serna, and in compliance with Local Rule 7.6 E, hereby inform this Honorable Court that

the filing of Plaintiffs’ Ex Parte Motion for Leave to File Sur-Reply in Opposition to

Reply in Support of Motion of Defendant Anadarko Petroleum Corporation to Dismiss

the Complaints of the Mexican States (Pleading Bundle “C”) is unopposed, as

demonstrated by the previously filed joint stipulation between Plaintiffs and Anadarko

Petroleum Corporation on April 29, 2011.


       WHEREFORE PREMISES CONSIDERED, the Mexican States of Veracruz,

Tamaulipas, and Quintana Roo, move this Honorable Court to Grant Leave to file their

Sur-Reply in Opposition to Reply in Support of Motion of Defendant Anadarko

Petroleum Corporation to Dismiss the Complaints of the Mexican States (Pleading

Bundle “C”).




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                                            Dated: June 27, 2011

                                            Respectfully submitted,


                                            SERNA & ASSOCIATES PLLC


                                            /s/ Enrique G. Serna
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                           CERTIFICATE OF SERVICE
       I hereby Certify that the above and foregoing RULE 7.6(E) CERTIFICATE, has
been served on All Counsel by electronically uploading the same to LexisNexis File &
Serve in accordance with Pretrial Order No.12, and that the foregoing was electronically
filed by using the CM/ECF System which will send a notice of electronic filing in
accordance with the procedures established in MDL 2179, this the 27th day of June 2011.

                                                   /s/ Enrique G. Serna
                                                   Enrique G. Serna




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